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                       IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF OREGON

                                 PORTLAND DIVISION

NORTHWEST CENTER FOR                                            No. 3:20-cv-01816
ALTERNATIVES TO PESTICIDES,
WILLAMETTE RIVERKEEPER,                        STANDING DECLARATION OF
CASCADIA WILDLANDS, NEIGHBORS                  INDIGO NAMKOONG
FOR CLEAN AIR, AND 350PDX,



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                                        Plaintiffs,
        vs.

 U.S. DEPARTMENT OF HOMELAND
 SECURITY; CHAD WOLF, in his capacity
 as Acting Secretary, U.S. Department of
 Homeland Security,
                                  Defendants.
I, Indigo Namkoong, declare as follows:
       1.       I have been a member and supporter of 350PDX since April of 2020 and have
regularly volunteered and collaborated with 350PDX staff and other members since speaking at
the 350PDX Earth Day Virtual Rally on April 22, 2020.
       2.       350PDX is a grassroots, volunteer-led organization working on advancing climate
justice, divestment of fossil fuels, and disrupting the status quo of corporate-owned energy
systems. We advocate for racial justice, indigenous sovereignty, immigrant justice, and global
solidarity as a means to advance a Just Transition away from the use of fossil fuels to curb
climate change.
       3.       I reside in Multnomah County, Oregon, and I also work as the Coalition Manager
for 350PDX here in Portland, Oregon. Prior to joining 350PDX, I served as the Partnerships
Coordinator with Sunrise Movement PDX, building relationships with other groups and
movements for social and environmental justice in the Portland metro area.
       4.       I have participated in protests, rallies, and other forms of political protest in the
Pacific Northwest and Portland for 6 years.
       5.       Beginning on May 29th, 2020, in the wake of George Floyd's death, I participated
in several protests supporting the movement for Black Lives Matter (“BLM”) and social &
environmental justice, with fellow 350PDX activists and supporters as well as with friends
and members of Sunrise PDX.
       6.       I also volunteered my time and organized donations during this time for mutual
aid causes to be able to provide personal protective equipment (“PPE”) and facemasks for fellow
350PDX activists and community partners to safely participate in the protests.



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        7.      On July 11th, 2020 I arrived downtown at Lownsdale Square at approximately
10:45 PM. I remained in the Square until 12:25 AM, when federal officers stationed on the west
side of the Mark O. Hatfield Federal Courthouse shot several canisters of noxious gas into the
Square. The clouds were thick enough that I couldn’t see through them. While I was wearing
a respirator and outside the thickest part of the gas, I could feel it leaking into my goggles
and stinging my eyes and skin. After retreating to the west side of the Square along SW 4th
Ave, I removed my respirator to take a drink of water. I immediately began to cough and felt
my throat fill with mucus, even though all visible signs of gas had disappeared. I was
exposed to two more rounds of heavy tear gas shot by federal officers between 1:00 AM and
2:00 AM that night, before returning home.
        8.      After I had inhaled the tear gas I experienced a sore throat, stomach cramps, loss
of appetite, and diarrhea for the next 24 hours.
        9.      On July 22, 2020 at 7:30 AM, I was downtown in Lownsdale Square volunteering
to clean up mutual aid medical supplies and food that had been pepper sprayed by federal agents
earlier that morning. There were no protests going on at this time. I spent about 2 hours cleaning
up; throughout this time I found that walking and kneeling in the park stirred up residue from
tear gas, even in areas that hadn’t been pepper sprayed a few hours earlier. The residual tear
gas I was exposed to was intense enough that I experienced an upset stomach and loss of
appetite for the entire rest of the day.
        10.     On July 25th, 2020 I attended another protest at the Mark O. Hatfield Federal
Courthouse. I arrived at the Federal Courthouse around 9:30 PM and met up with some friends
who were marching from NE Portland when they arrived downtown just after 11 PM. At
approximately 11:20 PM, the first rounds of tear gas I saw were fired at SW 2nd and Salmon. I
was standing in the NE corner of Lownsdale Square, about 100 feet from where the canisters
landed. I then approached the fence in front of the Courthouse. Just before 1 AM on July 26th,
another volley of tear gas was shot down at us at the fence line. I used my umbrella to cover the
heads of other protestors who were using leafblowers to disperse the gas. Between 1:10 and
1:30 AM, I was standing in a consistent heavy cloud of gas from munitions shot by federal


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officers. I could not see farther than 10 or 15 feet through the gas for most of this time. Even
thorough I was wearing an N95 mask, I felt my respirator filters begin to fail and the gas
reached my lungs within a few minutes. Whatever I was inhaling burned intensely going
down my throat and into my lungs. It felt different and more painful than any tear gas I’d
experienced; In fact, I’d never experienced gas that overwhelmed my respirator. Federal
officers continued to shoot canisters over our heads, so I remained in the clouds, covering
other protestors’ heads with an umbrella, for approximately 10 minutes after my filters gave
out before retreating as federal officers pushed the crowd west.
        11.     After being exposed to gas munitions on this occasion, for the entirety of July
26th, I felt like I had the worst hangover of my life. I was exhausted, dizzy, had no appetite, and
was nauseous for most of the day. I didn't throw up, but felt like I might. The two days after that,
July 27th and 28th, I felt even worse. I felt weak and short of breath, and got dizzy when I
tried to stand up too quickly or go down the stairs in my apartment. I could barely eat or
drink water. I felt like I couldn't think clearly for 48 hours and was extremely fatigued. It was
only on the 29th that I began to feel better and could eat and drink more normally, but the
brain fog lingered for weeks. Since that night, I've intermittently experienced respiratory
issues, and feel as if I am out of breath or my throat is swollen. A short walk uphill winds
me, and it's been even worse since the wildfires. I've also been losing hair at a higher rate than
usual; I see large amounts collect in my shower drain every week and lose a small
handful each time I shower. None of these problems were present or noticeable before the
end of July.
        12.     As an environmentalist and an activist that partakes in democratic actions and free
speech, I feel that the profuse and consistent use of noxious chemicals is harmful to the air,
waterways, environment, and human health. I worry about the harm that is being done to the
surrounding environment every time chemical irritants like that are deployed.
        13.     Due to my experiences, I fear for the health and safety of myself, my friends, and
other activists for future protests that I plan to partake in. I also fear for the health and safety of
those who live in homes and outdoor spaces close to protest sites, many of whom have no


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warning, no protective equipment, and no ability to leave when chemical munitions are
deployed.
         14.     I believe that the lack of information and analysis by the federal government
about the repeated use of tear gas and other aerosols created conditions in which numerous
adverse health impacts to the environment and human health, including my own, were able to
occur.
         15.     If the federal government completes a NEPA analysis of the use of tear gas and
other crowd control weapons on human health and the environment, and makes that information
available to the public for review and comment, I would have an opportunity to directly inform
them of the negative and adverse impacts I have suffered. I believe they may make better, more
informed choices about their use of such weapons if they fully understood the harmful health
impacts inflicted upon the general public.
         16.     If a NEPA analysis is completed, I believe the government may think twice before
deploying these gases with such regularity, and in such quantities that myself, my friends and
loved ones, and the natural environment have recently experienced. They may perhaps choose to
not deploy them at all.
         17.     I have definite plans to continue to engage in protests for social and
environmental justice in Portland and throughout the state.
         Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true
and correct.
         Executed this 14th day of October, 2020.




                                                             Indigo Namkoomg




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